AMUM UMUC CUE Cele CoM (ellie cel elmer: ioe

United States Bankruptcy Court for the:
NORTHERN DISTRICT OF ALABAMA

Case number dif known) Chapter you are filing under:
C] Chapter 7
Chapter 11
CO Chapter 12

C0 Chapter 13 C1 Check if this is an
amended filing

Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy 12/22

The bankruptcy forms use you and Debfor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from beth debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car, When information is needed about the spouses separately, the form uses Debtor 7 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 7 and the other as Debtor 2. The same person must be Debtor 7 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.

Identify Yourself

About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case}:

1. Your full name

Write the name that is on Keith

your governmentissued =“ First name First name
picture identification (for
example, your driver's
license or passport}.

Middle name Middle name
Bring your picture Green
identificalinfojyour Last name and Suffix (Sr., Jr., Il, ID Last name and Suffix (Sr., Jr., I, II)

meeting with the trustee.

2. All other names you have
used in the last 8 years

Include your married or
maiden names and any
assumed, trade names and
doing business as names.

Do NOT list the name of
any separate legal entity
such as a corporation,
partnership, or LLC that is
not filing this petition.

3. Only the last 4 digits of
your Social Security
number or federal OOCEXX-5610
Individual Taxpayer
Identification number
(ITIN}

Official Form 1@lase 24-81143-CRJ Moun CdtitionFFord chil filthg fdr Raekeetéy6/18/24 15:01:10 Desc Mainpage 1
Document Page 1 of 42
Debtor 1

Keith Green

Case number (if known}

About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case};

4 Your Employer

* Identification Number
{EIN}, if any.

EIN EIN

5. Where you live lf Debtor 2 lives at a different address:
104 Sunbriar Ct
Madison, AL 35756
Number, Street, City, State & ZIP Code Number, Street, City, State & ZIP Code
Madison
County County
If your mailing address is different from the one If Debtor 2's mailing address is different from yours, fill it
above, fill it in here. Note that the court will send any in here. Note that the court will send any notices to this
notices to you at this maiting address. mailing address.
Number, P.O. Box, Street, City, State & ZIP Code Number, P.O. Box, Street, City, State & ZIP Code

6. Why you are choosing Check one: Check one:

this district to file for
bankruptcy

>] Over the last 180 days before filing this petition,
1 have lived in this district longer than in any
other district.

[J ‘Ihave another reason.
Explain. (See 28 U.S.C. § 1408.)

[C] = Over the last 180 days before filing this petition, |
have lived in this district longer than in any other
district.

(1 [have another reason.
Explain. (See 28 U.S.C. § 1408.)

Official FomEAbE 24-81143-CRJMpluntay Petition a fdeitigieyals Filia fF Bawkuct@G/18/24 15:01:10 Desc Mainpage 2

Document

Page 2 of 42
Debtor t Keith Green

Case number (if known)

Tell the Court About Your Bankruptcy Case

7. The chapter of the Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
Bankruptcy Code you are (Form 2070)). Also, go to the top of page 1 and check the appropriate box.

choosing to file under Oo

Oj
0

Chapter 7

Chapter 11
Chapter 12
Chapter 13

8. Howyouwill pay thefee &

| will pay the entire fee when | file my petition. Please check with the clerk's office in your local court for more details
about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's check, or money
order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
a pre-printed address.

C1 _ I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
The Filing Fee in instalments (Official Form 103A).

O_ I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill cut
the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition,

9. Have you filed for XJ No.

bankruptcy within the CO Yes.

last 8 years?

District When Gase number
District When Case number
District When Gase number
10. Are any bankruptcy No
cases pending or being
tiled by a spouse who is Li Yes.
not filing this case with
you, or by a business
partner, or by an
affiliate?
Debtor Relationship to you
District When Case number, if known
Debtor Relationship to you
District When Case number, if known
11, Do you rent your EX] No. Go to line 12.
residence? DyYes. —_— Has your landlord obtained an eviction judgment against you?

O No. Go to line 12.

QO Yes. Fill out initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
this bankruptcy petition.

Official FomOAbe 24-81143-CRJ Mblunfay CetitionForaahigig nals Fung f¢F Rapkwetey6/18/24 15:01:10 Desc Mainpage 3

Document Page 3 of 42
Debtor 1 Keith Green

Case number (if known)

Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
of any full- or part-time CI No. Go to Part 4.
business?
[I Yes. Name and location of business

A sole proprietorship is a

business you operate as KMG Solutions, LLC

an individual, and is not a Name of business, if any

separate legal entity such

as a corporation,

partnership, or LLC. .

if you have more than one Pe Sub egCoum

yOu Nave Madison, AL 35756

sole proprietorship, use a

separate sheet and attach Number, Street, City, State & ZIP Code

it to this petition. Check the appropriate box to describe your business:
oO Health Care Business (as defined in 11 U.S.C. § 101(27A))
oO Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
oO Stockbroker (as defined in 11 U.S.C. § 101(53A)}
oO Commodity Broker (as defined in 11 U.S.C. § 101(6))
Dd None of the above

13. Are you filing under if you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor choosing to

Chapter 11 of the
Bankruptcy Code, and
are you a small business
debtor or a debtor as
defined by 11 U.S.C. §
1182(1)?

For a definition of small
business debior, see 11
U.S.C. § 101(51D).

proceed under Subchapter V so that if can set appropriate deadlines. If you indicate that you are a small business debtor or
you aré choosing to proceed under Subchapter V, you must attach your most recent balance sheet, statement of operations,
cash-flow statement, and federal income tax return or if any of these documents do not exist, fallow the procedure in 11 U.S.C.
§ 1116(1}(B}.

LI Wo. | am not filing under Chapter 11.

LI No. | am filing under Chapter 11, but! am NOT a small business debtor according to the definition in the Bankruptcy
Code.

CI Yes. | am filing under Chapter 11, | am a smalt business debtor according to the definition in the Bankruptcy Code, and

| do not choose to proceed under Subchapter V of Chapter 11.

Yes. — | am filing under Chapter 11, | am a debtor according to the definition in § 1182(1) of the Bankruptcy Code, and |
choose to proceed under Subchapter V of Chapter 11.

GERZE Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any

property that poses or is
alleged to pose a threat
of imminent and
identifiable hazard to
public health or safety?
Or do you own any
property that needs
immediate attention?

For example, do you own
perishable goods, or
livestock that must be fed,
or a building that needs
urgent repairs?

EX No.
OI Yes.

What is the hazard?

if immediate attention is
needed, why is it needed?

Where is the property?

Number, Street, City, State & Zip Code

Official FomCQSe 24-81143-CRJ Molunpy Petition dd chi@ie Ha faling fdr AaakedtG6/18/24 15:01:10 Desc Mainpage 4

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Debtor + Keith-Green

Ciro Explain Your Efforts to Receive a Briefing About Credit Counseling

Case number (if known)

15. Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about
credit counseling before
you file for bankruptcy.
You must truthfully check
one of the following
choices. If you cannat do
$0, you are not eligible to
file.

If you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your
creditors can begin
collection activities again.

About Debtor 1:

You must check one:

EX] | received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

CL] (received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have
a certificate of completion.

Within +4 days after you file this bankruptcy
petition, you MUST file a copy of the certificate and
payment plan, if any.

[1 _sIcertify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must fite a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

C1 | amnot required to receive a briefing about
credit counseling because of:

Os Incapacity.
| have a mental illness or a mental deficiency
that makes me incapable of realizing or
making rational decisions about finances.

0 _sDisability.
My physical disability causes me to be
unable to participate in a briefing in person,
by phone, or through the internet, even after
| reasonably tried to do so.

LC] Active duty.
lam currently on active military duty in a
military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver credit counseling with the court.

About Debtor 2 (Spouse Only in a Joint Case}:
You must check one:

0

| received a briefing from an approved credit
counseling agency within the 180 days before | filed
this bankruptcy petition, and | received a certificate of
completion.

Attach a copy of the certificate and the payment plan, if
any, that you developed with the agency.

l received a briefing from an approved credit
counseling agency within the 180 days before I filed
this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition, you
MUST file a copy of the certificate and payment plan, if
any.

| certify that | asked for credit counseling services
from an approved agency, but was unable to obtain
those services during the 7 days after | made my
request, and exigent circumstances merit a 30-day
temporary waiver of the requirement.

To ask for a 30-day temporary waiver of the requirement,
attach a separate sheet explaining what efforts you made
to obtain the briefing, why you were unable to obtain it
before you filed for bankruptcy, and what exigent
circumstances required you to file this case.

Your case may be dismissed if the court is dissatisfied
with your reasons for not receiving a briefing before you
filed for bankruptcy.

If the court is satisfied with your reasons, you must still
receive a briefing within 30 days after you file. You must
file a certificate from the approved agency, along with a
copy of the payment plan you developed, if any. If you do
not do so, your case may be dismissed.

Any extension of the 30-day deadline is granted only for
cause and is limited to a maximum of 15 days.

| am not required to receive a briefing about credit
counseling because of:

(3 sIncapacity.
| have a mental illness or a mental deficiency that
makes me incapable of realizing or making rational
decisions about finances.

C1 Disability.
My physical disability causes me to be unable to
participate in a briefing in person, by phone, or
through the internet, even after | reasonably tried to
do so.

C1 Active duty.
[am currently on active military duty in a military
combat zone.

If you believe you are not required to receive a briefing
about credit counseling, you must file a motion for waiver
of credit counseling with the court.

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Document

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Debtor+ Keith Green

Fee Answer These Questions for Reporting Purposes

Case number (if known)

16. What kind of debts do
you have?

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
individual primarily for a personal, family, or household purpose.”

EJ No. Go to line 16b.
CL] Yes. Go te line 17.

16b. Are your debts primarily business debts? Susiness debis are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

CI No. Go te line 16¢.
Yes. Go to line 17.

16c. State the type of debts you owe that are not consumer debts or business debts

17. Are you filing under
Chapter 7?

Do you estimate that
after any exempt
property is exciuded and

XJ No. | am not filing under Chapter 7. Go to line 18.

C1 Yes. | am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses

are paid that funds will be available to distribute to unsecured creditors?

administrative expenses CNo
are paid that funds will
be available for L Yes
distribution to unsecured
creditors?
18. How many Creditorsdo [J 1-49 C1 1,060-5,000 ( 25,001-50,000
you estimate that you CL] 50-99 C1 5001-10,006 (1 50,001-100,000
owe? CJ 100-199 LC 10,601-25,000 CO More than100,000
C1 200-999
19. How much do you C0 $0 - $50,000 (J $1,000,061 - $10 million CJ $500,000,001 - $1 billion

estimate your assets to
he worth?

() $50,001 - $100,000
C1 $100,001 - $500,000
$500,001 - $1 million

C1 $10,000,001 - $50 million
[] $50,000,001 - $100 million
LJ $100,000,001 - $500 million

C1 $1,000,000,001 - $10 billion
L] $10,000,009,001 - $50 billion
Cd More than $50 billion

20. How much do you
estimate your liabilities

0 $0 - $50,000
O $50,001 - $100,000

C1 $1,000,001 - $10 million
0 $10,000,001 - $50 million

C1 $500,000,001 - $7 billion
O $1,000,000,001 - $10 billion

to be? 0 $100,001 - $500,000 1 $50,000,001 - $100 million O $10,000,000,001 - $50 billion
EH $500,001 - $1 million O $160,000,001 - $500 million More than $50 billion
Sign Below
For you | have examined this petition, and 1 declare under penalty of perjury that the information provided is true and correct.

If | have chosen to file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
United States Code. | understand the relief available under each chapter, and ! choose to proceed under Chapter 7.

If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this

document, [ have obtained and read the notice required by 11 U.S.C. § 342(b).

| request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

| understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a

Signature of Debtor 2
Signafure of Debtor 1
Execuiedon June 18, 2024 Executed on
MM /DD / ¥YYY¥

MM /DDIYYYY

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Document Page 6 of 42
Debtor’ Keith Green Case number (if xnown)

For your attorney, if you are |, the attorney for the debtor(s) named in this petition, declare that | have informed the debtor(s) about eligibility to proceed
represented by one under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
for which the person is eligible. | also certify that | have delivered to the debtor(s) the notice required by 11 U.S.C. §
If you are not represented by  342(b) and, in a case in which § 707(b}(4)(D) applies, certify that | have no knowledge after an inquiry that the information
an attorney, youdo notneed — in the schedules filed with the petition is incorrect.
to file this page. Stuart Maples
Date June 18, 2024

“BMS Gre of ANCE EN Debtor MM/DD/YYYY

Stuart Maples

Printed name

Thompson Burton PLLC

Firm name

200 Clinton Ave West Suite 1000
Huntsville, AL 35801

Number, Street, City, State & ZIP Code

Contact phone Email address smaples@thompsonburion.com

AL

Bar number & State

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Debtor 1 Keith Green

First Name Middle Name Last Name
Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

United States Bankruptcy Court forthe: NORTHERN DISTRICT OF ALABAMA

Case number

(if known) C1 Check if this is an
amended filing

B 104
For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest
Unsecured Claims Against You and Are Not Insiders 12/15

If you are an individual filing for bankruptcy under Chapter 11, you must fill out this form. If you are filing under Chapter 7, Chapter 12, or
Chapter 713, do not fill out this form. Do not include claims by anyone who is an insider. Insiders include your relatives; any general partners;
relatives of any general partners; partnerships of which you are a general partner; corporations of which you are an officer, director, person
in control, or owner of 20 percent or more of their voting securities; and any managing agent, including one for a business you operate as a
sole proprietor, 11U.S.C.§ 101. Also, do not include claims by secured creditors unless the unsecured claim resulting from inadequate
collateral value places the creditor among the holders of the 20 largest unsecured claims.

Be as complete and accurate as possible. If two married peopie are filing together, both are equally responsible for supplying correct
information.

List the 20 Unsecured Claims in Order from Largest to Smallest. Do Not Include Claims by Insiders.

Unsecured claim

aa What is the nature of the claim? $50.00
AL Department of Revenue

50 N Ripley St As of the date you file, the claim is: Check all that apply

Montgomery , AL 36100 O Contingent

Oi Unliquidated
oO Disputed
i None of the above apply

Does the creditor have a lien on your property?

DX No

Contact oO Yes. Total claim (secured and unsecured)
Value of security: -
Contact phone Unsecured claim
What is the nature of the claim? Trade debt $48,153.83

Fintegra Funding
1150 First Ave As of the date you file, the claim is: Check all that apply
Suite 105 O Contingent
King of Prussia, PA 19406 Oo Unliquidated

O Disputed

i None of the above apply

Does the creditor have a lien on your property?

RK No
Contact oO Yes. Total claim (secured and unsecured)
Value of security: -
Contact phone Unsecured claim
B104 (Official Form 104} For individual Chapter 11 Gases: List of Creditors Who Have the 20 Largest Unsecured Claims Page 1
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Document Page 8 of 42
Debtor 1 Keith Green Case number (if known}

What is the nature of the claim? Trade debt $25,443.00
Fusion Funding
88 Pine Street As of the date you file, the claim is: Check all that apply
Suite 2202 oO Contingent
New York, NY 10005 C] Unliquidated

Ol Disputed
xX None of the above apply

Does the creditor have a lien on your property?

Kl Na

Contact Oo Yes. Total claim (secured and unsecured)
Value of security: =
Contact phone Unsecured claim
et What is the nature of the claim? Trade debt $144 668.81

G and G Funding
79 Madison Ave As of the date you file, the claim is: Check all that apply
New York, NY 10016 O Contingent

oO Unliquidated

Ci Disputed

i None of the above apply

Does the creditor have a lien on your property?

el No

Contact O Yes. Total claim (secured and unsecured)
Value of security: -
Contact phone Unsecured claim
What is the nature of the claim? $8,024.00

Internal Revenue Service
Centralized Insolvency Operations As of the date you file, the claim is: Check all that apply
P.O. Box 7346 Oo Contingent
Philadeiphia, PA 19101 O Unliquidated

oO Disputed

None of the above apply

Does the creditor have a lien on your property?

XX] No

Contact rT Yes. Total claim (secured and unsecured)
Value of security: s
Contact phone Unsecured claim
ae What is the nature of the claim? $179,517.01

Lakeview Service

As of the date you file, the claim is: Check all that apply
P.O, Box 8068Loan Care L Contingent
Virginia Beach, VA 23450 O Untiquidated

Oo Disputed

x] None of the above apply

Does the creditor have a lien on your property?

oO No
Contact EK Yes. Total claim (secured and unsecured) $179,517.01
Value of security: - $0.00
B 104 (Official Form 104) For Individual Chapter 11 Gases: List of Creditors Who Have the 20 Largest Unsecured Claims Page 2
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Debtor 1 Keith Green

Case number (if known)

Contact phone Unsecured claim $179,517.01
What is the nature of the claim? Trade debt $240,118.57
Lease Plan
PO. Box 978763 As of the date you file, the claim is: Check all that apply
Dallas, TX 75397-8763 Cl Contingent
O Unliquidated
oO Disputed
i None of the above apply
Dees the creditor have a lien on your property?
& No
Contact Oo Yes. Total claim (secured and unsecured)
Value of security: =
Contact phone Unsecured claim
[ee What is the nature of the claim? Trade debt $1,043.08
Lease Plan USA Inc

P.O. Box 978763
Dallas, TX 75397-8763

Contact

Contact shone

As of the date you file, the claim is: Check all that apply
O Contingent

oO Unliquidated

Oo Disputed

xX Nene of the above apply

Does the creditor have a lien on your property?

x No

O Yes. Total claim (secured and unsecured}

Value of security: -

Unsecured claim

Bea What is the nature of the claim? Credit card purchases $30,000.00
Navy Federal Credit Union
P.O, Box 3000 As of the date you file, the claim is: Check all that apply
Merrifield, VA 22119 C] Contingent
oO Unliquidated
oO Disputed
Et None of the above apply
Does the creditor have a lien on your property?
El No
Contact oO Yes. Total claim (secured and unsecured)
Value of security: =
Contact phone Unsecured claim
What is the nature of the claim? Credit card purchases $18,000.00

aie)
ae Navy Federal Credit Union

P.O. Box 3000
Merrifield, VA 22119

B 104 (Official Form 104)

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As of the date you file, the claim is: Check all that apply
oO Contingent

oO Unliquidated

J Disputed

x None of the above apply

Does the creditor have a lien on your property?

Dg No

For Individual Chapter 11 Cases; List of Greditors Who Have the 20 Largest Unsecured Claims

~ www, bastcase.com

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Page 3

Best Case Bankruptcy

Desc Main
Debtor 1 Keith Green Case number (if known)

Contact Oo Yes. Total claim (secured and unsecured)
Value of security: -
Contact phone Unsecured claim
What is the nature of the claim? Car Loan $20,000.00
Wells Fargo
420 Montgomery St As of the date you file, the claim is: Check all that apply
San Francisco, CA 94163 L] Contingent

oO Uniiquidated
oO Disputed
El None of the above apply

Does the creditor have a lien on your property?

XX No
Contact Oo Yes. Total claim (secured and unsecured)
Value of security: -
Contact phone Unsecured claim
[EXTER sign Below
Under pena’ j deciare that the information provided in this form is true and correct.
X Xx
Signature of Debtor 2
Signature of Debtor 1
Date June 18, 2024 Date
B 104 (Official Form 104} For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims Page 4

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Debtor 4 Keith Green

First Name Middle Name Last Name
Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

United States Bankruptcy Court forthe: NORTHERN DISTRICT OF ALABAMA

Case number
(if known)

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information

(] Check if this is an

amended filing

12/15

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file

your original forms, you must fill out a new Summary and check the box at the top of this page.

Summarize Your Assets

1. Schedule A/B: Property (Official Farm 106A/B)
1a. Copy line 55, Total real estate, from Schedule A/B wc c cc ccceceeccecececececececeeeceessansseenseaeseeeeseaeeaeetanseseeeees

ib. Copy line 62, Total personal property, from Schedule A/Bo....... cc cccseccesccccecrseesceneeensvenacsencaatevecscessceseseecersesenseees

1e. Copy line 63, Total of all property on Schedule AMB.o cece ceccesceeersecseeeesesssseecsssesstenssiessneneseseneeassass

GE Summarize Your Liabilities

Your assets
Value of what you own

$ 250,000.00
$ 440,666.92
$ 690,666.92

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)

Your liabilities
Amount you owe

2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D... $ 179,517.04
3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)

3a. Copy the total claims from Part 1 (priority unsecured claims) from line Ge of Schedule EVF...........c cee $ 8,074.00

3b. Copy the total claims from Part 2 (nonpriarity unsecured claims) from line 6j of Schedule EVF oc $ 527,432.29

Your total liabilities | 5 715,023.30

Summarize Your Income and Expenses
4. Schedule f: Your income (Official Form 1061)

Copy your combined monthly income from line 12 of SCH@GUIE [oo cccscecstssecctsrsecnseessssssecevenessesecssensatcsatssvasearsesee $ 17,897.98
§. Schedule J: Your Expenses (Official Form 106J}

Copy your monthly expenses from line 22c of Schedule Jo... ccc ceccccee cess ceeceensesscetsetcesecasesessececseaneceeees $ 7,859.50

GERZEE Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 14, or 137

[1] No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

Yes
7. What kind of debt do you have?

I Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or househald

purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

(1 Your debts are not primarily consumer debts. You have nothing te report on this part of the form. Check this box and submit this form to the

court with your other schedules.

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information

page 1 of 2

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Debtor1 Keith Green Case number (if known)

a. From the Statement of Your Current Monthly income: Copy your total current monthly income from Official Form
122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14. $ 0.00

9. Copy the following special categories of claims from Part 4, line 6 of Schedule EF:

Total claim

From Part 4 on Schedule E/F, copy the following:
9a. Domestic support obligations (Copy line 6a.) $ 0.60
9b. Taxes and certain other debts you owe the government. (Copy line 6b.} $ 8,074.00
Qc. Claims for death or personal Injury while you were intoxicated. (Copy line 6c.) $ 0.00
$d. Student loans. (Copy line Gf.) $ 0.00
Qe. Obligations arising out of a separation agreement or divorce that you did not report as

priority claims. (Copy line 6g.) $ 0.00
9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) +5 0.00
9g. Total. Add lines 9a through Sf. $ 8,074.00

Official Form t06Sum Summary of Your Assets and Liabilities and Certain Statistical [Information page 2 of 2

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TUR USMC HUE em CM Ui ti mekel um oar: ale ULLAL

Debtor 1 Keith Green

First Name Middle Name Last Name
Debtor 2
{Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: NORTHERN DISTRICT OF ALABAMA

Case number 1 Check if this is an
amended filing

Official Form 106A/B
Schedule A/B: Property 1245

In each category, separately list and describe items. List an asset only once, If an asset fits in more than one category, list the asset in the category where you
think it fits best. Beas complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number {if known).
Answer every question.

Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1, Do you own or have any legal or equitable interest in any residence, building, land, or similiar property?

DINo. Go to Part 2.
Yes. Whereis the property?

1.1 What is the property? Check all that apply
104 Sunbriar Ct BJ Single-family home Do not deduct secured claims or exemptions. Put
——= _ the amount of any secured claims on Schedule D:
Street address, if available, or other description o Duplex or multi-unit building Creditors Who Have Claims Secured by Property.
Condominium or cooperative
O Manufact ile h
. oO Maniiaetirateiinee listen Current vaiue of the Current value of the
Madison AL 35756 Land entire property? portion you own?
City State ZIP Coda C1 Investment property $500,000.00 $250,000.00
Oi Timeshare :
C] Other Describe the nature of your ownership interest
(such as fee simple, tenancy by the entireties, or
Who has an interest in the property? Check one a life estate), if known.
BY Debtor 4 only Joint tenant
Madison 1 Debter 2 only
County (1 Debtor 1 and Debtor 2 only

oO Check if this is community property

C1 At teast one of the debtors and another (see instructions)

Other information you wish to add about this item, such as local
property identification number:

2. Add the dollar value of the portion you own for ail of your entries from Part 1, including any entries for
pages you have attached for Part 1. Write that mumber Here... scssssssssesetsssceeseesccnscsnenantecnmeenteatennaenanenseraece => $250,000.00

Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

Official Form 106A/B Schedule A/B: Property page 1
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Debtor1 Keith Green Case number (if known)

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

C] No
Yes
. . Do not deduct secured claims or exemptions. Put

3.1 Make: Honda Who has an interest in the property? Check one the amount of any secured claims on Schedule D:
Model: Accord fl Debtor 4 only Creditors Who Have Ciaims Secured by Property.
Year: 2022 01 Debtor 2 only Current value of the Current value of the
Approximate mileage: 93105 0 Debtor 1 and Debtor 2 only entire property? portion you own?
Other information: CO At least one of the debtors and another

[Check if this is community preperty $20,000.00 $20,000.00

{see instructions)

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

EI No
CO Yes

5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
pages you have attached for Part 2. Write that number here... eeeeececeeeeeseneetesterssnesorseeeeensssenuneassarenenteaens => $20,000.00

Describe Your Personal and Household Items
Do you own or have any legal or equitable interest in any of the following items? Current value of the
portion you own?
Deo not deduct secured
claims or exemptions.

6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware

EI No
C1 Yes. Describe...

7. Electronics
Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices

including cell phones, cameras, media players, games
No
DU Yes. Describe...

8. Collectibles of value
Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections:

other collections, memorabilia, collectibles
IX No
Yes. Deseribe.....

9, Equipment for sports and hobbies
Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;

musical instruments
— No
Cl Yes. Deseribe.....

16. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment

Ed No
Ol Yes. Deseribe.....

11. Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

EI No
Yes. Describe...

12. Jewelry
Examples: Everyday jewelry, costume jewelry, engagement rings. wedding rings, heirloom jewelry, watches, gems, gold, silver

EI No
O Yes. Describe...

Official Form 106A/B Schedule A/B: Property page 2
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Debtor1 Keith Green Case number (if known)

13. Non-farm animals
Exampies: Dogs, cats, birds, horses
J Ne
(Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
EI No
(J Yes. Give specific information.....

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
for Part 3. Write that number Here ..........secscesssssessseenescees cesses scree eeeeesereeereraeceeausenausans $0.00

Describe Your Financial Assets

Deo you own or have any legal or equitable interest in any of the following? Current value of the
portion you own?
Do not deduct secured
claims or exemptions.

16. Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

17. Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
institutions. If you have multiple accounts with the same institution, list each.
D1 No

Bd YeOS. occ Institution name:

17.1. Savings Navy Federal Credit Union Unknown
17.2. Savings Redstone Federal Credit Union $4,631.22
17.3. Checking USAA $1,978.97

18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts
—] No

OW Yes... ee. Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership,
and joint venture
EX] No
CT] Yes. Give specific information about them...................
Name of entity: % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
Negotiable instruments include personal checks, cashiers’ checks, promissory nofes, and money orders.
Non-negotiabie instruments are thase you cannot transfer to someone by signing or delivering them.

EJ No

CU Yes. Give specific information about them
Issuer name:

21. Retirement or pension accounts
Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or ather pension or profit-sharing plans
[No
EI Yes. List each account separately.

Type of account: Institution name:

Thrift Saving Thrift Savings Account $8,418.73
Official Form 106A/B Schedule A/B: Property page 3
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22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
&] No
Yes. wo. Institution name or individual:

23. Annuities (A contract for a periodic payment of money te you, either for life or for a number of years)
CI eS... issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b}(1), 529A(b), and 529(b)(1).
C1No

YOS. cece Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):
529 Plan/State Tuition Plan $5,638.00

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
& No
(Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
Na
C1 Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
No
C1 Yes. Give specific information about them...

Money or property owed to you? Current value of the
portion you own?
Do not deduct secured
claims or exemptions.

28. Tax refunds owed to you
4] No
CO Yes. Give specific information about them, including whether you already filed the returns and the tax years.......

29. Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
J No

C] Yes. Give specific information......

36. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
benefits; unpaid loans you made to someone else
EJ No

C1 Yes. Give specific information..

31. Interests in insurance policies
Exampies: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter’s insurance
Ci No
EJ Yes. Name the insurance company of each policy and list its value,

Company name: Beneficiary: Surrender or refund
value:
Primerica Life Insurance Minnie Green, Kiarra
Green and Katelyn
Green $400,000.00

32. Any interest in property that is due you from someone who has died
if you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
someone has died.

EX] No

11 Yes. Give specific information.

Official Form 106A/B Schedule A/B: Property page 4
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Debtor’ Keith Green Case number (if known)

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

El No
OJ Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
PS = Describe each claim.........

35. Any financial assets you did not already list

EX] No
Yes. Give specific information..

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
for Part 4. Write that number Nere...........ccccssssecsensseeeessseenssneneconeeeenneeesoneconensenecensenenoesaunnsnaasadeeeaneeaestseeeuseanees $420,666.92

Ga Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
No. Go to Part 6

Ces. Go to line 38.

Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
if you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legai or equitabie interest in any farm- or commercial fishing-related property?
No. Go te Part 7.

DO Yes. Gotoline 47.

Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership
EJ No

C1 Yes. Give specific information. ........

54. Add the dollar value of all of your entries from Part 7. Write that number Here ou cassssenseseeeseesceeeees $0.00

List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2 EEE $250,000.00
56. Part 2: Total vehicles, line 5 $20,000.00

57. Part 3: Total personal and household items, line 15 $0.00

58. Part 4: Total financial assets, line 36 $420,666.92

59. Part 5: Total business-related property, line 45 $0.00

60. Part 6: Total farm- and fishing-related property, line 52 $0.00

61. Part 7: Total other property not listed, line 54 + $0.00

62. Total personal property. Add lines 56 through 61... $440,666.92 Copy personal property total $440,666.92
63. Total of all property on Schedule A/B. Add line 55 + line 62 $690,666.92
Official Form 106A/B Schedule A/B: Property page 5
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Debtor 1 Keith Green

First Name Middle Name Last Name
Debtor 2
(Spouse if, filing} First Name Middle Name Last Name

United States Bankruptcy Court for the: NORTHERN DISTRICT OF ALABAMA

Case number
(if known)

C1 Check if this is an
amended filing

Official Form 106C

Schedule C: The Property You Claim as Exempt
4/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited tn dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

GEXSEME identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
11 U.S.C. § 522(b){3}

EX] You are claiming state and federal nonbankruptcy exemptions.

C] You are claiming federa! exemptions. 11 U.S.C. § 522(b}(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption

Schedule A/B that lists this property

portion you own

Copy the value from Check only one box for each exemption.
Schedule A/B
104 Sunbriar Ct, Madison, AL 35756 $250,000.00 Ala. Code §§ 6-10-2, 6-10-3,
Madison County yl 6-10-4, 6-10-12; Const. Art. X, §
Line from Schedule A/B: 1.1 100% of fair market value, upto 905
any applicable statutory limit
2022 Honda Accord 93105 miles $20,000.00 Ala. Code § 6-10-126(a)(3}
Line from Schedule A/B: 3.1
x 100% of fair market vaiue, up to
any applicable statutory limit
USAA $1,978.97 Ala. Code §§ 6-10-65, 6-10-12
Line from Schedule A/B: 17.3
x 100% of fair market value, up to
any applicable statutory limit
Thrift Savings Account $8418.73 O Ala. Code § 19-3-1 (Repealed
Line from Schedule A/B: 21.1 eff. 1/1/07)
100% of fair market value, up to
any applicable statutary limit
Primerica Life Insurance $400,000.00 Ala. Code §§ 6-10-38, 27-14-29

Line from Schedule A/B: 31.1

x

100% of fair market value, up to
any applicable statutory limit

Official Form 106C
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Schedule C: The Property You Claim as Exempt

page 1 of2
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Debtor’ Keith Green

Case number (if known)
3. Are you claiming a homestead exemption of more than $189,0507

(Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
CL) No

B] Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
<] No
LC) Yes

Official Form 1066 Schedule C: The Property You Claim as Exempt page 2 of2
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Debtor 1 Keith Green

First Name Middle Name Last Name
Debtor 2
(Spouse if, filing) First Name Middie Name Last Name

United States Bankruptcy Court for the: NORTHERN DISTRICT OF ALABAMA

Case number
(if known)

C Check if this is an
amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property

12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if

known).

1. Bo any creditors have claims secured by your property?

C1 No. Check this box and submit this form to the court with your other schedules. You have nothing else te report on this form.

Yes. Fill in all of the information below.
List All Secured Claims

A ; ceo : Column A Column 8 Column C
2, List ail secured claims. If a creditor has more than one secured claim, list the creditor separately
foreach claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As Amount of claim Vaiue of collateral Unsecured
much as possible, list the claims in alphabetical order according te the creditor’s name. Do not deduct the that supports this portion
value of collateral. claim Hany
| 2.1 | Lakeview Service Describe the property that secures the claim: $179,517.01 $0.00 $179,517.01
Creditar's Name
P.O. Box 8068Loan Care =o the date you file, the claim is: Check all that
Virginia Beach, VA 23450 O Gontingent
Number, Street, City, State & Zip Code 1 unliquidated
0 Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
C1 Debtor 7 only [1] An agreement you made (such as mortgage or secured
(J Debtor 2 only car loan)
(J Debtor 1 and Debtor 2 only 1 Statutory lien (such as tax lien, mechanic's lien)
4 At least one of the debtors and another A Judgmeni lien from a lawsuit
CJ Check if this claim relates to a 1 Other {including a right to offset)
community debt
November
Date debt was incurred 2020 Last 4 digits of account number 3558
Add the dollar value of your entries in Column A on this page. Write that number here: $179,517.01
If this is the last page of your form, add the dollar value totals from all pages.
Write that number here: $179,517.01

GEtGe List Others to Be Notified for a Debt That You Already Listed

Use this page only if you have others te be notified about your bankruptcy for a debt that you already listed in Part t. For example, if a collection agency is
trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any

debts in Part 1, do not fill out or submit this page.

Official Form 106D
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Schedule D: Creditors Who Have Claims Secured by Property

page 1 of 1

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United States Bankruptcy Court for the:

Case number

Debtor 1 Keith Green

First Name Middle Name Last Name
Debtor 2
{Spouse if, filing} First Name Midcle Name Last Name

NORTHERN DISTRICT OF ALABAMA

{if known)

O

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

Check if this is an
amended filing

12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could resultin a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B} and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G}. Bo not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. if more space is needed, copy the Part you need, fill it cut, number the entries in the boxes on the

left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known}.

List All of Your PRIORITY Unsecured Claims

1. Do any creditors have priority unsecured claims against you?
[3 No. Ge to Part 2.
4 Yes.
2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,

identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonoriorify amounts. As much as
possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority unsecured claims, fill out the Continuation Page of
Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.

(For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)

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Total claim Pricrity Nonpriority
amount ameunt
(rn AL Department of Revenue Last 4 digits of account number $50.00 $50.00 $0.00
Priority Creditor's Name
January 1, 2022-
50 N Ripley St When was the debt incurred? December 31, 2022
Montgomery , AL 36100
Number Street City State Zip Code As of the date you file, the claim is: Check ali that apply
Who incurred the debt? Check one. D0 Contingent
bd Debtor 1 only O Unliquidated
(7 Debtar 2 only OO Disputed
CJ Debtor 1 and Debtor 2 only Type of PRIORITY unsecured claim:
DI Atleast one of the debtors and another CJ Domestic support obligations
OO Check if this claim is fora community - Taxes and ceriain other debts you awe the government
debt D1 Claims for death or personal injury while you were intoxicated
Is the claim subject to offset? OO Oiher. Specify
E No
O Yes
(ra | Internal Revenue Service Last 4 digits of account number $8,024.00 $8,024.00 $0.00
Priority Creditor's Name
Centralized [Insolvency Operations When was the debt incurred?
P.O. Box 7346
Philadelphia, PA 19101
Number Street City State Zip Code As of the date you file, the claim is: Check ail that apply
Who incurred the debt? Check one. O1 Contingent
(4 Debtor 1 only OD Unliquidated
O01 Debtor 2 only DD Disputed
1 Debtor 1 and Debtor 2 only Type of PRIORITY unsecured claim:
At least one of the debtors and another CJ Domestic support obligations
1 Check if this claim is fora community IX] Taxes and certain other debts you owe the government
debt 0 Claims fer death cr personal injury while you were intoxicated
Is the claim subject to offset? OO Other. Specify
KI No
OO Yes
ere List All of Your NONPRIORITY Unsecured Claims
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 1 of §

Best Case Bankruptcy

Desc Main

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Debtor 1 Keith Green

Case number (it known)

3. Do any creditors have nonpriority unsecured claims against you?

C1 No. You have nothing to report in this part. Submit this form to the court with your other schedules.
&] Yes.

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than ene nonpriority
unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
than one creditor holds a particular claim, fist the other creditors in Part 3.1f you have more than three nonpriority unsecured claims fill out the Continuation Page of Part

2.
Total claim
44 | Amazon Last 4 digits of account number $0.00
Nonopriority Creditcr's Name
410 Terry Ave North When was the debt incurred?
Seattle, WA 98109
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
EJ Debtor 1 only 01 Contingent
] Debtor 2 only 0 Unliquidated
C1 Debtor 1 and Debtor 2 only EJ Disputed
(J At least one of the debtors and another Type of NONPRIORITY unsecured claim:
OJ Check if this claim is fora community 0 Student loans
debt 0 Obligations arising out of a separation agreement or diverce that you did not
Is the claim subject to offset? report as priority claims
EI No 0 Detis to pension or profit-sharing plans, and other similar debts
J Yes Other. Specify
ae | Fintegra Funding Last 4 digits of account number $48,153.83
Nonpriority Creditor's Name
1150 First Ave When was the debt incurred? 4/26/2023
Suite 105
King of Prussia, PA 19406
Number Street City State Zip Code As of the date you file, the claim is: Check ail that apply
Who incurred the debt? Check one.
Debtor 1 only CJ Contingent
OO Debtor 2 only GI Unliquicated
O01 Debtor 1 and Debtor 2 only D0 Disputed
(At least one of the debtors and another Type of NONPRIORITY unsecured claim:
OF Check if this claim is fora community 0 Student loans
debt 0 Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
EJ No OO Debts to pension or profit-sharing plans, and other similar debts
O Yes [J Other. Specify Trade debt
| 43 | Fusion Funding Last 4 digits of account number $25,443.00
Nenpriority Creditors Name
88 Pine Street When was the debt incurred? 7H17/2023
Suite 2202
New York, NY 10005
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
Debtor 1 only 0 Contingent
OI Debtor 2 only OO Unliquidated
U1 Debtor 1 and Debtor 2 only OO Disputed
D0 Ai least one of the debtors and another Type of NONPRIORITY unsecured claim:
OO Check if this claim is fora community OO Student loans
debt (C0 Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
J Ne O Debts to pension or profit-sharing plans, and other similar debts
O Yes J Other. Specify Trade debt
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 2 of 5

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Desc Main

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Debtor? Keith Green

[sa |

Case number (if known)

G and G Funding Last 4 digits of account number $144 668.81
Nonoriority Creditor's Name
79 Madison Ave When was the debt incurred? August 2023
New York, N¥ 10016
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who Incurred the debt? Check ona.
EX) Debtor 1 only C] Contingent
D0 Debior 2 only 0 unliquidated
(1 Debtor 1 and Debtor 2 only 0 Disputed
(At least one of the debtors and another Type of NONPRIORITY unsecured claim:
OO Cheek if this claim is fora community C1 Student loans
debt CO Obligations arising out of a separation agreement or divores that you did not
Is the claim subject to offset? report as priority claims
No 0 Debits to pension or profit-sharing plans, and other similar debis
C1 Yes ] Other. Specify Trade debt
| 45 Lease Plan Last 4 digits of account number 2207 $240,118.57
Nonpriority Creditor's Name
P.O. Box 978763 When was the debt incurred?
Dallas, TX 75397-8763
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
J Debter 41 only U1 Contingent
( Debtor 2 only 0 unliquidated
O Debtor 4 and Debter 2 only DD Disputed
CO At least one of the debtors and another Type of NONPRIORITY unsecured claim:
OJ Check if this claim is fora community O Student leans
debt ( Obligations arising out of a separation agreement or divorce that you did not
is the claim subject to offset? report as priority claims
No (J Debts to pension or profit-sharing plans, and other similar debis
O Yes EJ Other. Specify Trade debt
[4 | Lease Plan USA Inc Last 4 digits of accountnumber 2207 $1,048.08
Nonpriority Creditor's Name
P.O. Box 978763 When was the debt incurred? 12/16/2023
Dallas, TX _ 75397-8763
Number Street Gity State Zip Cade As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
Debtor 1 only O1 Contingent
C1 Debtor 2 only 01 unliquidated
OO Debter 1 and Debtor 2 only DO Disputed
U0 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
OO Check if this claim is fora community DD Student loans
debt 0 Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? repart as priority claims
EJ Ne CO Debts to pension or profit-sharing plans, and other similar debts
O yes Other. Specify Trade debt
47 MetLife (Southeast) Last 4 digits of account number 0001 $0.00
Nonpriority Creditors Name
P.O. Box 5000 When was the debt incurred? 3/1/2024
_Fogelsviile, PA 18051
Number Street City State Zip Code As of the date you file, the claim is; Check all that apply
Who incurred the debt? Check one.
4 Debtor f only OO Contingent
[J Debtor 2 only OJ Unliquidated
OJ Debtor ¢ and Debtor 2 only Od Disputed
UD At least one of the debiors and another Type of NONPRIORITY unsecured claim:
C1 Check if this claim is for a community C] Student loans
debt CJ Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
EI No C0 Debts to pension or profit-sharing plans, and other similar debts
GO Yes KX] Other. Specify
Official Farm 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 3 of §

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Debter1 Keith Green

Case number (if known)

ae | Navy Federal Credit Union

Last 4 digits of account number _5894 $18,000.00
Nonpriority Creditor's Name
P.O. Box 3000 When was the debt incurred? July 2022
Merrifield, VA 22119
Number Street City State Zip Gode As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
[J Debtor 1 only D1 Contingent
O Debtor 2 only Oo unliquidated
CG Debtor 1 and Debier 2 only D0 Disputed
DI Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
Di Cheek if this claim is fora community O Student loans
debt CO Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
No OO Debis to pension or profit-sharing plans, and other similar debts
1 Yes [J Other. Specify Credit card purchases
Navy Federal Credit Union Last 4digits of account number 4786 $30,000.00
Nonpriority Creditors Name
P.O. Box 3000 When was the debt incurred?
Merrifield, VA 22119
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
J Debtor 1 only 01 Contingent
1 Debtor 2 only C1 Uniiquidated
Ci Debtor 1 and Debtor 2 only OO Disputed
DIAt least one of the debtors and another Type of NONPRIORITY unsecured claim:
OU Check if this claim is fora community O Student loans
debt (C1 Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
EI No 0 Debts to pension or profit-sharing plans, and other similar debts
O Yes El Other. Specify Credit card purchases
41
0 Wells Fargo Last 4 digits of account number $20,000.00

Nonpriority Creditors Name
420 Montgomery St
San Francisco, CA 94163

Number Street City State Zip Cade

Who incurred the debt? Check one.
Debtor 1 oniy

LD Debtor 2 only

DO Debter 1 and Debtor 2 only

DIAt least one of the debtors and another

D0 Check if this claim is fora community
debt

Is the claim subject to offset?
No
O Yes

When was the debt incurred? November 2021

As of the date you file, the claim is: Check all that apply

01 Contingent

0 Unliquidated

C1 Disputed

Type of NONPRIORITY unsecured claim:
OO Student loans

LJ Obligatians arising out of a separation agreement or divorce that you did not
report as priority claims
O01 Debts to pension or profit-sharing plans, and other similar debts

J Other. Specify Car Loan

GEREe List Others to Be Notified About a Debt That You Already Listed

§. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
is trying to collect from you for a deht you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
notified for any debts in Parts 4 or 2, do not fill out or submit this page.

Name and Address

The Receivable Management
Services, LLC

P.O. Box 5000

Fogelsville, PA 18051

On which entry in Pari 1 or Part 2 did you list the original creditor?
Line 4.7 of (Check one):

CJ Part 1: Creditors with Priority Unsecured Claims
Part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

Add the Amounts for Each Type of Unsecured Claim

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
type of unsecured claim.

Official Form 106 E/F
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Schedule E/F: Creditors Who Have Unsecured Claims

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Debtor 1 Keith Green

Total claims
from Part 7

Total claims
from Part 2

Official Form 106 E/F

6a.

6b.
6c.
6d.

6e.

6f.

6g.

6h.

Gi.

8

Domestic support obligations

Taxes and certain other debts you owe the government
Claims for death or personal injury while you were intoxicated

Other. Add all other priority unsecured claims. Write that amount here.

Total Priority. Add lines 6a through 6d.

Student loans

Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

Dehts to pension or profit-sharing plans, and other similar debts
Other. Add all other nonpriority unsecured claims. Write that amount
here.

Total Nonpriority. Add lines 6f through 6i.

Schedule E/F: Crediters Who Have Unsecured Claims

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Gase number (if known)

6a.

6b.
6c.
6d.

6e.

6f.

8g.
6h.

Si.

8j.

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Total Claim
0.00

8,074.00

0.00

0.00

8,074.00

Total Claim
0.00:

0.00

0.00

527,432.29

527,432.29

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Best Case Bankruptcy
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Debtor 1 Keith Green

First Name Middle Name Last Name
Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

United States Bankruptcy Court forthe: NORTHERN DISTRICT OF ALABAMA

Case number

(if known) C1 Check if this is an
amended filing

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number {if known).

1. Do you have any executory contracts or unexpired leases?
(J No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
[X] Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Property (Official Form 106 AJB).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
and unexpired leases.

Person or company with whom you have the contract or tease State what the contract or lease is for
Name, Number, Street, City, State and ZIP Code
2.1. At&T Mobility Contract phones- Lease expired October 2023
P.O. Box 6403

Carol Stream, IL 60197

2.2 Element Fleet Company Lease for Vehicles- Lease expired October 2023
10200 Grand Central Avenue Suite 400
Owings Mills, MD 21117

2.3 Fintegra Funding Funding company
1150 First Ave
Suite 105
King of Prussia, PA 19406

2.4 Fusion Funding Funding Company
88 Pine Street
Suite 2202
New York, NY 10005

2.5 Gand G Funding Funding Company
79 Madison Ave
New York, NY 10016

26 Gravie Health Insurance
10 NE 2nd Street
Suite 300
Minneapolis, MN 55413

2.7 Marsh Insurance USA, LLC Vehicle insurance, general insurance, workman's comp-
P.O. Box 14404 policy expired October 2023
Des Moines, IA 50306
2.8 Merchant Fleet Company Leased vehicle- Lease expired October 2023
Official Form £066 Schedule G: Executory Contracts and Unexpired Leases Page 1 of 2
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Debtor 1

Keith Green

Case number (if kaown)

aa. Additional Page if You Have More Contracts or Leases

Person or company with whom you have the contract or lease

Name, Number, Street, City, State and ZIP Code

14 Central Park Dr.
1st Floor
Hooksett, NH 03106

State what the contract or lease is for

2.9 Metlife Insurance Insurance
P.O. Box 14593
Lexington, KY 40512
2.10 USA Wheels Lease for vehicles-lease expired October 2023
2.11 Verizon Contract phone- Lease expired October 2023
P.O. Box 489
Newark, NJ 07101
2.12 Wheels Fleet Company Vehicle lease- Expired October 2023

P.O. Box 978763
Dallas, TX 75397

Official Form 106G
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Schedule G: Executory Contracts and Unexpired Leases

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Best Case Bankruptcy
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Debtor 1 Keith Green

First Name Middle Name Last Name
Debtor 2
(Spouse ff filing) First Name Middle Name Last Name

United States Bankruptcy Court forthe: © NORTHERN DISTRICT OF ALABAMA

Case number
(if known) CL] Check if this is an
amended filing

Official Form 106H
Schedule H: Your Codebtors 12/45

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

4. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

C] No
i] Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

Ed No. Go to line 3.
C1 Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

3. In Cotumn 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
out Column 2.

Column f; Your codebtor Column 2: The creditor to whom you owe the debt
Name, Number, Street, City, State and ZIP Code Check all schedules that apply:
3.13 Minnie Green —& Schedule D, line 2.1
104 Sunbriar Ct C1 Schedule EF, line
Madison, AL 35756 C1 Schedule G

Lakeview Service

Official Form 106H Schedule H: Your Codebtors Page 1 of 4

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lA ATM Labo li tar= WoL amcr Ml et=ial tin ay cel lm es= tole

Debtor 1 Keith Green

Debtor 2
(Spouse, # filing)

United States Bankruptcy Court for the: NORTHERN DISTRICT OF ALABAMA

Case number Check if this is:

(If known} UO An amended filing

CJ A supplement showing postpetition chapter
13 income as of the following date:

Official Form 1061 MIM 7 DDI YYYY
Schedule I: Your Income 42145

Be as complete and accurate as possible. If two married people are filing together {Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

GEXSHE Describe Employment
1. Fillin your employment
information. Debtor 7 Debtor 2 or non-filing spouse
If you have more than one job, Employment status &] Employed Employed
attach a separate page with
information about additional C1 Not employed LJ Not employed
loyers.
as Occupation
Include part-time, seasonal, or Owner Site Integrader
self-employed work. .
Employer's name KMG Solutions, LLC DeepMile
Occupation may include student
or homemaker, if it applies. Employer's address 1934 Old Gallows Rd
7600 Crestwood Blvd. Suite 350
Birmingham, AL 35210 Vienna, VA 22182
How long employed there? 2 years 1 year

GE Give Detaiis About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines betow. If you need
more space, attach a separate sheet to this form.

For Debtor 4 For Debtor 2 or
non-filing spouse

List monthly gross wages, salary, and commissions (before all payroll

2. deductions). if not paid monthly, calculate what the monthly wage would be. 2 «= § 3,250.00 $ 4,666.65

3. Estimate and list monthly overtime pay. 3. +5 0.00 8 +$ 6,500.00

4. Calculate gross Income. Add line 2 + line 3. 4. | $ 3,250.00 $ 11,166.65
Official Form 1061 Schedule I: Your Income page 1

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Debtor 1

10.

it.

12.

13.

Official Form 106]

Keith Green

List all payroll deductions:

5a.
5b.
5c.
5d.
5e.
5f.

5g.
5h.

8a.

8b.
8c.

8g.
8h.

Insurance

Union dues

Case number (if known)

profession, or farm

monthly net income.
Interest and dividends

regularly receive

Social Security

For Debtor 4 For Debtor 2 or
non-filing spouse
Copy Hine 4 Here oo. .cseescsssecseseserececeesestsctenennenesnensronscereaneanene tt eanarsenteceseonseeenssraneneas 4, $ 3,250.00 §$ 11,166.65
Tax, Medicare, and Social Security deductions Sa. $ 216.67 § 5,343.00
Mandatory contributions for retirement plans 5b. § 0.00 $ 0.00
Voluntary contributions for retirement plans 5c. § 0.00 6$ 0.00
Required repayments of retirement fund loans Sd. $ 0.00 §$ 0.00
5e. §$ 0.00 § 0.00
Domestic support obligations Sf 86 §$ 0.00 § 0.00
5g. $ 0.00 $ 0.00
Other deductions. Specify: Bh.t $ 0.00 +§ 0.00
Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5Sh. 6 6 $ 216.67 $ 5,343.00
Calculate total monthly take-home pay. Subtract line 6 from line 4. 7. §$ 3,033.33 $ 5,823.65
List all other income regularly received:
Net income from rental property and from operating a business,
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total
8a. §$ 0.00 § 0.00
8b. $ 0.00 § 0.00
Family support payments that you, a non-filing spouse, or a dependent
Include alimony, spousal support, child support, maintenance, divorce
settlement, and property settlement. &. 8 §$ 0.00 § 0,00
Unemployment compensation 8d. $ 0.00 8 ¢$ 0.00
Be. § 0.00 §$ 0.00
Other government assistance that you regularly receive
Include cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (benefits under the Supplemental
Nutrition Assistance Program) or housing subsidies.
Specify. US Governmnet Disability sf 6S 3,500.00 $ 0.00
Pension or retirement income 8. § 5,541.00 $§ 0.00
Other monthly income. Specify: 8h.+ $ 0.00 + $ 0.00
Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h. 9. |$ 9,041.00] |$ 0.00
Calculate monthly income. Add line 7 + line 9. 10.|$ 12,074.33 |+]5 §,823.65|=|$ 17,897.98

Add the entries in line 10 for Debter 1 and Debtor 2 or non-filing spouse.

State all other regular contributions to the expenses that you list in Schedute J.
Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and

oth

er friends or relatives.

Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

Specify:

Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Reiated Data, if it

14. +$ 0.00

applies

Do you expect an increase or decrease within the year after you file this form?

Lx

Oo

No.

12.) $___17,897.98|

Combined
monthly income

Yes. Explain: |

Schedule |: Your Income

page 2

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Sata] Mace Lenar= ice] gmcom(o(=10 (Neo) eel

Debtor 1 Keith Green Check if this is:
LI An amended filing
Debtor 2 Ci Asupplement showing postpetition chapter 13
(Spouse, if filing) expenses as of the following date:
United Staies Bankruptcy Court for the’) NORTHERN DISTRICT OF ALABAMA MM /DD/YYYY

Case number
(It known)

Official Form 106J
Schedule J: Your Expenses 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. lf more space is needed, attach another sheet to this form. On the top of any additionat pages, write your name and case number
{if known). Answer every question.

Describe Your Household

1. Is this a joint case?

EX] No. Go to line 2.
LJ Yes. Does Debtor 2 live ina separate household?

L1 No
0 Yes. Debter 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents? No

Do not list Debtor 1 and (Yes. Fill out this information for Dependent’s relationship to Dependent’s Does dependent
Debtor 2. each dependent.............. Debtor i or Debtor 2 age live with your
Do not state the [_] No
dependents names. CO] Yes

CL] No

C] Yes

1 No

CJ Yes

CL] No

C1 Yes

3. Do your expenses include No

expenses of people other than 1 Yes
yourself and your dependents?

Estimate Your Ongeing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the
value of such assistance and have included it on Schedule !; Your Income

(Official Form 1061.) Your expenses

4. The rental or home ownership expenses for your residence. Include first mortgage
payments and any rent for the ground or lot. 4. § 1,796.00

If not included in line 4:

4a. Real estate taxes 4a. $ 0.00
Ab. Property, homeowner's, or renter’s insurance 4b. $ 650.00
4c. Home maintenance, repair, and upkeep expenses 4c. $ 0.00
4d. Homeowner's association or condominium dues 4d. $ 37.50
5. Additional mortgage payments for your residence, such as home equity loans 5. $ 0.00
6. Utilities:
6a. Electricity, heat, natural gas 6a. $ 325.00
6b. Water, sewer, garbage collection 6b. $ 55.00
6c. Telephone, cell phone, Internet, satellite, and cable services 6c. $ 380.00
6d. Other. Specify: 6d. $ 0.00
Official Form 106J Schedule J: Your Expenses page 1

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Debtor 1 Keith Green Case number (if known}
7. Food and housekeeping supplies 7. $ 0.00
8. Childcare and children’s education costs 8. $ 2,167.00
§. Clothing, laundry, and dry cleaning 9. §$ 50.00
19. Personal care products and services 10. $ 200.00
11. Medical and dental expenses 11. $ 150.00
12. Transportation. Include gas, maintenance, bus or train fare.

Do not include car payments. 12. $ 0.00
13, Entertainment, clubs, recreation, newspapers, magazines, and books 13. $ 50.00
14. Charitable contributions and religious donations 14. $ 25.00
16. Insurance.

Do not include insurance deducted from your pay or included in lines 4 or 20.

15a. Life insurance 15a. $ 0.00

15b. Health insurance 15b. $ 142.00

15c. Vehicle insurance 15c. §$ 200.00

15d. Other insurance. Specify: Tri-Care 15d. $ 80.00
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.

Specify: 16. $ 0.00
17. Installment or lease payments:

17a. Gar payments for Vehicle 1 17a. $ 551.00

17b. Car payments for Vehicle 2 17b. $ 0.00

17c. Other. Specify: lfc. §$ 0.00

17d. Other. Specify: 17d. $ 0.00
18. Your payments of alimony, maintenance, and support that you did not report as

deducted from your pay on line 5, Schedule I, Your income (Official Form 106). 18. $ 0.00
19. Other payments you make to support others who do not live with you. $ 0.00

Specify: 19.
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule J: Your Income.

20a. Mortgages on other property 20a. § 0.00

20b. Real estate taxes 20b. $ 0.00

20c. Property, homeowner's, or renter’s insurance 20c. $ 0.00

20d. Maintenance, repair, and upkeep expenses 20d. $ 700.00

20e. Homeowner's association or condominium dues 20e. $ 0.00
21, Other: Specify: Roy Sleep Study Machine 21, +$ 36.00

Brilliant Grades (Tutoring Service-Daughter) +$ 200.00

Storage +$ 65.00
22. Calculate your monthly expenses

22a. Add lines 4 through 21. $ 7,859.50

22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 $

22c¢. Add line 22a and 22b. The result is your monthly expenses. $ 7,859.50
23. Calculate your monthly net income.

23a. Copy line 12 (your combined monthly income) from Schedule |. 23a. $ 17,897.98

23b. Copy your monthly expenses from line 22c above. 23b. -$ 7,859.50

23c. Subtract your monthly expenses from your monthiy income.

The result is your monthly net income, 23c.|$ 10,038.48

24, Do you expect an increase or decrease in your expenses within the year after you file this form?

Official Form 106J

For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a

modification to the terms of your mortgage?
Ed No.
CI Yes. [Explain here:

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Schedule J: Your Expenses

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page 2
IMUM Cele teem col e(-Tal time Celt mot [-1-

Debtor 1 Keith Green

First Name Middle Name Last Name
Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

United States Bankruptcy Court forthe: NORTHERN DISTRICT OF ALABAMA

Case number
(if known} O

Official Form 106Dec
Declaration About an Individual Debtor's Schedules

Check if this is an
amended filing

12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20

years, or both. 18 U.S.C. §§ 152, 1347, 1519, and 3571.

BE «2022100

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

DI No

C1 Yes. Name of person Attach Bankruptcy Petition Preparer's Notice,
Declaration, and Signature (Official Form 119}

Under penalty of perjury, | declare that | have read the summary and schedules filed with this declaration and

that they ar true an rrect.
x La x

Kelth/Green ~ Signature of Debtor 2
SjOnature of Debtor 1

Date June 18, 2024 Date

Official Form 106Dec Deciaration About an Individual Debtor's Schedules

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Debtor 1 Keith Green

Debtor 2
(Spouse, if filing}

United States Bankruptcy Court forthe: Northern District of Alabama

Case number LJ Check if this is an amended filing

{if known}

Official Form 122B

Chapter 11 Statement of Your Current Monthly Income 12/21

You must file this form if you are an individual and are filing for bankruptcy under Chapter 11 (other than Subchapter V). If more space is
needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional
pages, write your name and case number (if known).

Calculate Your Current Monthly Income

1. What is your marital and filing status? Check one only.
x} Not married. Fill out Column A, lines 2-11.
1 Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
OO Married and your spouse is NOT filing with you. Fill out Column A, lines 2-11.
Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case.
11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March + through August 31. If the amount of your
monthly income varied during the & months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income
amount more than once. For example, if both spouses own the same rental property, put the income from that property in one column only. If you have
nothing to report for any line, write $0 in the space.
Column A Column B
Debtor 1 Debtor 2
2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
payroll deductions). $ 0.00 §
3. Alimony and maintenance payments. Do not include payments from a spouse if
Column B is filled in. $ 0.00 = §$
4. All amounts from any source which are regularly paid for household expenses
of you or your dependents, including child support. Include regular contributions
from an unmarried partner, members of your household, your dependents, parents,
and roommates. Include regular contributions from a spouse only if Column B is not
filled in. Do net include payments you listed on line 3. $ 0.00 = §
5. Net income from operating a
business, profession, orfarm Debtor1 Debtor 2
Gross receipts (before all deductions) $ 0.00
Ordinary and necessary operating expenses -§ 0.00
Net monthly income from a business, profession, or farm $ 0.00 Copy here -> $ 0.00 §$
6. Net income from rentai and
other real property Debtor 1 Debtor 2
Gross receipts (before all deductions) $ 0.00
Ordinary and necessary operating expenses -$ 0.00
Net monthly income from rental or otherreal property  $ 0.00 Copy here -> $ 0.00 §$
Official Form 122B Chapter 11 Statement of Your Current Monthly Income page 17
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Debtor 1 Keith Green Case number (if known)

Column A Column B
Debtor 1 Debtor 2
7. Interest, dividends, and royalties $ 0.00 68
8. Unemployment compensation $ 000 = 6$

Do not enter the amount if you contend that the amount received was a benefit under
the Social Security Act. Instead, list it here:

FOP YOU ..cccsssccscccercssssevenssecuseseesceccenscsienseneeeseeeeesees $ 0.00
FOr YOU SPOUSG ic ccecceereessereeeeceeeeeeereeneeeeenieae $

9. Pension or retirement income. Do not include any amount received that was a

benefit under the Social Security Act. Also, except as stated in the next sentence, do

not include any compensation, pension, pay, annuity, or allowance paid by the United

States Government in connection with a disability, combat-related injury or disability,

or death of a member of the uniformed services. If you received any retired pay paid

under chapter 61 of title 10, then include that pay only to the extent that it does not

exceed the amount of retired pay te which you would otherwise be entitled if retired

under any provision of title 10 other than chapter 61 of that title. $ 0.00 = 6§$

10. Income from ail other sources not listed above. Specify the source and amount.
Do not include any benefits received under the Social Security Act; payments received
as a victim of a war crime, a crime against humanity, or international or domestic
terrorism; or compensation, pension, pay, annuity, or allowance paid by the United
States Government in connection with a disability, combat-related injury or disability,
or death of a member of the uniformed services. If necessary, list other sources on a
separate page and put the total below.

$
$ 0.00 §
Total amounts from separate pages, if any. + $ 0.00 ¢
11. Calculate your total current monthly income.
Add lines 2 through 19 for each column.
Then add the total for Column A to the total for Column B. $ 0.00 js = 0.00
Official Form 122B Chapter 11 Statement of Your Current Monthly Income page 2
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Debtor 1 Keith Green Case number (if known)

Sign Below

By signing here, uncer penalty of perjury | dectare that the information on this statement and in any attachments is true and correct.

X

Kéitfi Green
Signature of Debtor 1

Date June 18, 2024

MM /DD /YYYY
Official Form +22B Chapter 11 Statement of Your Current Monthly Income page 3
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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)

This notice is for you if:

You are an individual filing for bankruptcy,
and

Your debts are primarily consumer debts.
Consumer debts are defined in 11 U.S.C.
§ 101(8) as “incurred by an individual
primarily for a personal, family, or
household purpose.”

Chapter 7: Liquidation

The types of bankruptcy that are available to
individuals

Individuals who meet the qualifications may file under
one of four different chapters of Bankruptcy Code:

Chapter 7 - Liquidation
Chapter 11 - Reorganization

Chapter 12 - Voluntary repayment plan
for family farmers or
fishermen

Chapter 13 - Voluntary repayment plan
for individuals with regular
income

You should have an attorney review your
decision to file for bankruptcy and the choice of
chapter.

Notice Required by 41 U.S.C. § 342(b) for individuals Filing for Bankruptcy (Form 2010)

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$245 filing fee
$78 administrative fee

+ $15 trustee surcharge

$338 total fee

Chapter 7 is for individuals who have financial
difficulty preventing them from paying their debts
and who are willing to allow their non-exempt
property to be used to pay their creditors. The
primary purpose of filing under chapter 7 is to have
your debts discharged. The bankruptcy discharge
relieves you after bankruptcy from having to pay
many of your pre-bankruptcy debts. Exceptions exist
for particular debts, and liens on property may still
be enforced after discharge. For example, a creditor
may have the right to foreclose a home mortgage or
repossess an automobile.

However, if the court finds that you have committed
certain kinds of improper conduct described in the
Bankruptcy Code, the court may deny your
discharge.

You should know that even if you file chapter 7 and
you receive a discharge, some debts are not
discharged under the law. Therefore, you may still
be responsible to pay:

most taxes;

most student loans;

domestic support and property settlement
obligations;

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most fines, penalties, forfeitures, and criminal
restitution obligations; and

certain debts that are not listed in your bankruptcy
papers.

You may also be required to pay debts arising from:
fraud or theft;

fraud or defalcation while acting in breach of
fiduciary capacity;

intentional injuries that you inflicted; and

death or personal injury caused by operating a
motor vehicle, vessel, or aircraft while intoxicated
from alcohol or drugs.

If your debts are primarily consumer debts, the court
can dismiss your chapter 7 case ff it finds that you have
enough income to repay creditors a certain amount.
You must file Chapter 7 Statement of Your Current
Monthly income (Official Form 122A—1) if you are an
individual filing for bankruptcy under chapier 7. This
form will determine your current monthly income and
compare whether your income is more than the median
income that applies in your state.

If your income is not above the median for your state,
you will not have to complete the other chapter 7 form,
the Chapter 7 Means Test Calculation (Official Form
122A-2),

If your income is above the median for your state, you
must file a second form —the Chapter 7 Means Test
Calculation (Official Form 1224-2). The calculations on
the form— sometimes called the Means Test—deduct
from your income living expenses and payments on
certain debts to determine any amount available to pay
unsecured creditors. If

Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)

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your income is more than the median income for your
state of residence and family size, depending on the
results of the Means Test, the U.S. trustee, bankruptcy
administrator, or creditors can file a motion to dismiss
your case under § 707(b) of the Bankruptcy Code. Ifa
motion is filed, the court will decide if your case should
be dismissed. To avoid dismissal, you may choose to
proceed under another chapter of the Bankruptcy
Code.

If you are an individual filing for chapter 7 bankruptcy,
the trustee may sell your property to pay your debts,
subject to your right to exempt the property or a portion
of the proceeds fram the sale of the property. The
property, and the proceeds from property that your
bankruptcy trustee sells or liquidates that you are
entitled to, is called exempt property. Exemptions may
enable you to keep your home, a car, clothing, and
household items or to receive some of the proceeds if
the property is sold.

Exemptions are not automatic. To exempt property,
you must list it on Schedule C: The Property You Claim
as Exempt (Official Form 106C). If you do not list the
property, the trustee may sell it and pay all of the
proceeds to your creditors.

Chapter 11: Reorganization

$1,167 _ filing fee

+ $571 administrative fee
$1,738 total fee

Chapter 11 is often used for reorganizing a business,
but is also available to individuals. The provisions of
chapter 11 are too complicated to summarize briefly.

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Because bankruptcy can have serious long-term financial and legal consequences, including loss of
your property, you should hire an attorney and carefully consider all of your options before you file.
Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
properly and protect you, your family, your home, and your possessions.

Although the law allows you to represent yourself in bankruptcy court, you should understand that
many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
or inaction may harm you. If you file without an attorney, you are still responsible for knowing and

following all of the legal requirements.

You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the

necessary documents.

Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

Chapter 12: Repayment plan for family
farmers or fishermen

$200 _filing fee
+ $78 administrative fee
$278 total fee

Similar to chapter 13, chapter 12 permits family farmers
and fishermen to repay their debts over a period of time
using future earnings and to discharge some debts that
are not paid.

Chapter 13: Repayment pian for
individuals with regular
income

$235 _filing fee
+ $78 administrative fee
$313 total fee

Chapter 13 is for individuals who have regular income
and would like to pay all or part of their debts in
installments over a period of time and to discharge
some debts that are not paid. You are eligible for
chapter 13 only if your debts are not more than certain
dollar amounts set forth in 11 U.S.C. § 109.

Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)

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Under chapter 13, you must file with the court a plan
to repay your creditors all or part of the money that
you owe them, usually using your future earnings. li
the court approves your plan, the court will allow you
to repay your debts, as adjusted by the plan, within 3
years or 5 years, depending on your income and other
factors.

After you make all the payments under your plan,
many of your debts are discharged. The debis that are
not discharged and that you may still be responsible to
pay include:

domestic support obligations,

most student loans,

certain taxes,

debts for fraud or theft,

debts for fraud or defalcation while acting in a
fiduciary capacity,

most criminal fines and restitution obligations,

certain debts that are not listed in your
bankruptcy papers,

certain debts for acts that caused death or
personal injury, and

certain long-term secured debts.

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Warning: File Your Forms on Time

Section 521(a}(1) of the Bankruptcy Code requires that
you promptly file detailed information about your
creditors, assets, liabilities, income, expenses and
general financial condition. The court may dismiss your
bankruptcy case if you do not file this information within
the deadlines set by the Bankruptcy Code, the
Bankruptcy Rules, and the local rules of the court.

For more information about the documents and
their deadlines, go fo:
http: /Avww.uscourts.gov/forms/bankruptcy-forms

Bankruptcy crimes have serious consequences

[f you knowingly and fraudulently conceal assets
or make a false oath or statement under penalty of
perjury—either orally or in writing—in connection
with a bankruptcy case, you may be fined,
imprisoned, or both.

All information you supply in connection with a
bankruptcy case is subject to examination by the
Attorney General acting through the Office of the
U.S. Trustee, the Office of the U.S. Attorney, and
other offices and employees of the U.S.
Department of Justice.

Make sure the court has your mailing address

The bankruptcy court sends notices to the mailing
address you list on Voluntary Petition for Individuals
Filing for Bankruptcy (Official Form 101). To ensure
that you receive information about your case,
Bankruptcy Rule 4002 requires that you notify the court
of any changes in your address.

Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)

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A married couple may file a bankruptcy case
together—caiiled a joint case. If you file a joint case and
each spouse lists the same mailing address on the
bankruptcy petition, the bankruptcy court generally will
mail you and your spouse one copy of each notice,
unless you file a statement with the court asking that
each spouse receive separate copies.

Understand which services you could receive from
credit counseling agencies

The taw generally requires that you receive a credit
counseling briefing from an approved credit counseling
agency. 11 U.S.C. § 109(h}. If you are filing a joint
case, both spouses must receive the briefing. With
limited exceptions, you must receive it within the 180
days before you file your bankruptcy petition. This
briefing is usually conducted by telephone or on the
Internet.

In addition, after filing a bankruptcy case, you generally
must complete a financial management instructional
course before you can receive a discharge. If you are
filing a joint case, both spouses must complete the
course.

You can obtain the list of agencies approved to provide
both the briefing and the instructional course from:
http:/Avwav.uscourts.gov/services-forms/bankruptcy/cre
dit-counseling-and-debtor-education-courses.

In Alabama and North Carolina, go to:

http: /Avww. uscourts.gov/services-forms/bankruptcy/cre
dit-counseling-and-debtor-education-courses.

if you do not have access to a computer, the clerk of
the bankruptcy court may be able to help you obtain
the list.

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B2030 (Form 2030) (12/15)
United States Bankruptcy Court
Northern District of Alabama

Inre Keith Green Case No.

Debtor(s) Chapter 11

DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)

1. Pursuant to LL U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that [ am the attorney for the above named debtor(s) and that compensation
paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on
behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

For legal services, [ have agreed to aCCept .0.....0.eccsccesceseseessserescessussesusssssesscacceseeseeenees $ 4,500.00
Prior to the filing of this statement I have received oo... ce cesceceecocsssscessossecsnsneneees $ 4,500.00
Balance Due oo... ccc cenessseeesecnessessesscnnecaeenssessccoeasssatsseseasaceusceasvacensesenesssesansaneuatssesaces $ 0.00

2. The source of the compensation paid to me was:
[x] Debtor (] Other (specify):

3. The source of compensation to be paid to me is:
—] Debtor [1 Other (specify):

4, [X] I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

C) Ihave agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A copy
of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

Analysis of the debtor's financtal situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
Preparation and filing of any petition, schedules, statement of affairs and plan which may be required:

Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

. [Other provisions as needed]

Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of reaffirmation
agreements and applications as needed; preparation and filing of motions pursuant to 11 USC 522(f)(2)(A) for avoidance of
liens on household goods.

noe

6, By agreement with the debtor(s), the above-disclosed fee does not include the following service:
Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or any other
adversary proceeding.

CERTIFICATION

I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in this
bankruptcy proceeding.

Stuart Maples
June 18, 2024 box SIGN 1788R66Z-1XX7YX58
Date Stuart Maples

Signature of Attorney
Thompson Burton PLLC
200 Clinton Ave West Suite 1000
Huntsville, AL 35801

Fax:
smaples@thompsonburton.com
Name of law firm

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